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                      IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF PUERTO RICO

  In re:

  JUAN AMBROSIO LAMEIRO AGUAYO                          Case No. 23-02873-MAG
  SONIA ESTHER CARO ESTERAS                             Chapter 11



  Debtor(s)

                          MOTION IN COMPLIANCE WITH ORDER

  TO THE HONORABLE COURT:

           COMES NOW Debtors, represented by the undersigned counsel and respectfully

  STATES, ALLEGES and PRAYS as follows:

           1.    On February 20, 2024, this Honorable Court ordered the Debtor to show cause why

 the case shall not be dismissed for failure to comply with this Court’s Order at docket #73. See,

 Dk. #80.

           2.    In compliance with this Honorable Court’s Order, the Debtors hereby inform that,

 on today’s date, the monthly operating report for the month of December 2023 was filed. See, Dk.

 #82.

           3.    Accordingly, the Debtors hereby inform and respectfully request that this

 Honorable Court take notice of above mentioned.

           WHEREFORE, the Debtors respectfully request that this Honorable Court be inform by

 the information proffered herein and deem the Debtor in compliance with this Honorable Court’s

 Order.

           CERTIFICATE OF SERVICE: I hereby certify that on this same date, I electronically

 filed the above document with the Clerk of the Court using the CM/ECF system, which will send
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 notification, upon information and belief, of such filing to the following: THE UNITED STATES

 TRUSTEE, Small Business Subchapter V Trustee and to all CM/ECF participants.

        RESPECTFULLY SUBMITTED

        In San Juan, Puerto Rico this 20th day December 2024.

                                                   THE BATISTA LAW GROUP, PSC.
                                                   P.O. Box 191059
                                                   San Juan, PR. 00919
                                                   Telephone: (787) 620-2856
                                                   Facsimile: (787) 777-1589

                                                   /s/ William Rivera Vélez
                                                   William Rivera Vélez, USDC # 229408
                                                   E-mail: wrv@batistasanchez.com
